We have searched diligently but fail to find any authority wherein one department of the same court has interfered with the litigation in another department. In applying the rule of reason to such a contingency, it must occur to our minds that such result would lead to confusion in court actions which would be disastrous to the courts and litigants alike. There are a number of authorities, however, to the effect that courts of concurrent jurisdiction will not interfere with actions pending in courts of similar jurisdiction. 7 R.C.L. 1067; 32 C.J. 112; 32 C.J. 114; Lee et al. v. Sup. Ct., 214 P. 972; Wright et al. v. Sup. Ct.,73 P. 145; State ex rel. Vesley v. Carr, 244 P. 436, 438; Sewell v. Christison, 245 P. 632. Under our practice and pleading the wife could set up her cause of action for separate maintenance in a cross-complaint; and as the property settlement agreement was brought in issue by the husband's complaint, the validity of said agreement could have been and was made an issue in the action first commenced.
The court should have dissolved the temporary restraining order, and exceeded its jurisdiction in making said restraining order permanent. Section 5137, *Page 255 
Rev. Laws of Nevada, provides in what cases an injunction may be granted, and we do not believe that the instant case is within the provisions of that section of our practice act. We realize that the courts have inherent power to grant injunctive relief, such as, for instance, in preventing a multiplicity of suits, but such principle should not be invoked in a second suit started by the wife, for the reason that the second suit was creating a multiplicity of suits instead of preventing the same. 32 C.J. 404, sec. 685; 14 Cal. Jur. 192; 14 R.C.L. 405-406.
The record of the first proceeding was brought to the attention of the district judge issuing the restraining order, and we believe it would have been the proper remedy to have transferred the second action to the department first acquiring jurisdiction, in order that the issues involved might be determined in one proceeding. We believe that that procedure would have been in conformity with the practice of the district court of Washoe County, and particularly rule 41 of district court rules. "A mandatory rule of court not unreasonable or in conflict with the statute has the same force and effect as a statute." State ex rel. Williams v. Second Judicial District Court, 233 P. 843.
We believe that the same reason as above stated, applying to rule 41 would also apply to rule 43.
We believe that an appeal would be inadequate for the reason that the petitioner would be prevented from carrying on his divorce action in department No. 2 until the wife had terminated her action in department No. 1, and therefore petitioner might not have any good grounds for an appeal other than the refusal of the trial judge to dissolve the restraining order, and even assuming that the supreme court might hold that the trial court erred in refusing to dissolve the injunction, petitioner would not then have any redress for the reason that the judgment rendered in department No. 1 would be a bar to the prosecution of the action in department No. 2. From our understanding of the *Page 256 
statute, an appeal from an order refusing to dissolve an injunction does not stay the proceedings (sec. 5352, Rev. Laws). Walser v. Moran, 42 Nev. 111, 128; Gordon v. Dist. Ct., 36 Nev. 1,15; 21 Cal. Jur. 582; Glide v. Sup. Ct., 147 Cal. 21, 27; Rec. Dist. v. Sup. Ct., 171 Cal. 672, 683; Gloyd v. Su. Ct.,185 P. 995, 997; Hammons v. Su. Ct., 219 P. 1037, 1039, citing Con. Adjustment Co. v. Sup. Ct., 207 P. 552; Dungan v. Sup. Ct.,84 P. 767; State ex rel. Thibodean v. Dist. Ct. (Mont.), 224 P. 866; Chaplin v. Su. Ct., 253 P. 954, 959; Northcutt v. Su. Ct.,226 P. 25. We believe from the foregoing authorities that the petitioner in the instant case does not have a plain, speedy and adequate remedy at law, and that he is entitled to have the writ of prohibition made permanent, or such other relief as he may be entitled to.
Respondent contends that the Second judicial district court was acting within its jurisdiction in restraining a litigant from prosecuting an action at law or equity in another department of the same court. 22 Cyc. 813; 14 R.C.L. 408; Acme Harvester Co. v. Beekman Lumber Co., 222 U.S. 300, 32 S. Ct. 96, 56 L. Ed. 208; Larue v. Friedman, 49 Cal. 278; Stone v. King-Hodgson Co.,140 Ga. 487, 79 S.E. 122; Chapman v. American Surety Co., 261 Ill. 594,104 N.E. 247; Moors v. Ladenburg, 178 Mass. 272,59 N.E. 676; Geddis v. Wayne Cir. Judge, 151 Mich. 122, 114 N.W. 874; Kansas City R. Co. v. McCardle, 222 S.W. 464; State v. First Judicial Dist. Ct., 24 Mont. 539, 63 P. 395; Erie R. Co. v. Ramsey, 45 N.Y. 637; Farewell v. Great Western Tel. Co., 161 Ill. 522,44 N.E. 891.
We do not agree with the contention of counsel for petitioner that the three causes of action involved in the proceedings in the Second judicial district court in any manner involve the same subject matter, although they are between the same parties. Suit No. 27301 is a suit for divorce only, and in which there is a bare allegation that there had been a property settlement *Page 257 
out of court. Suit No. 27861 involved first a suit for cancellation of a contract and for an accounting, and second a suit for separate maintenance without divorce. Hilton v. Hilton,43 Nev. 128-140.
If the relief sought by petitioner is to prohibit the Second judicial district court from hearing suit No. 27861 on its merits, we assert that there is no precedent for a superior court to prohibit an inferior court from proceeding with the trial of a case in which it has unquestionable jurisdiction of both the parties and of the subject matter. If he seeks relief from the injunction heretofore granted, he is not entitled thereto, first, because the injunction has already been granted and there is nothing more remaining to be done by the respondents and nothing is threatened (32 Cyc. 603B; High's Ext. Legal Rem. 552, and note citing U.S. v. Hoffman, 4 Wall 158); and the order of this court does not prohibit Thomas F. Moran, judge of said district court, from doing any act except that he desist and refrain from taking any further proceedings in case No. 27861 until the further order of this court. If it is sought to have Judge Moran recall or dissolve the injunction, then the petitioner's remedy would be mandamus, and if mandamus would lie, the writ of prohibition must fail. If it is maintained that Judge Moran erred in granting the injunction, a matter clearly within his jurisdiction, then the remedy would be by certiorari; and finally by section 5329 of the Revised Laws of Nevada an order refusing to grant or dissolve an injunction is made appealable, and if appealable, then neither certiorari, mandamus nor prohibition will lie.
Petitioner's contention that the order of the district court denying the motion to dissolve said restraining order and the order making said restraining order permanent was inequitable or in excess of the jurisdiction of said district court for the reason that it is alleged that it creates a multiplicity of suits is not well taken, because, as stated, they are not of the same subject matter; but if it be true that there is a multiplicity of suits, then he had his remedy in section 5778 of the *Page 258 
Revised Laws of Nevada. The record does not show that petitioner sought to avail himself of this remedy. That the petitioner cannot avail himself of the extraordinary writ of prohibition where the right of appeal or other adequate remedy at law exists, is universally sustained by the courts. See Works on Courts and their Jurisdiction, pp. 632, 633. The appeal in the instant case would have involved the single question of whether the judge erred in refusing to dissolve the injunction, or in making the injunction permanent.
The injunction involves no injury to petitioner, as it only requires him to submit to a court of equity the contract by which he sought to bar her from obtaining suit money with which to defend her marriage status and her property interests, and thereby deprive her of her day in court; while to dissolve the injunction, assuming that a writ of prohibition will lie to dissolve the injunction, would cause the wife irreparable damage. 32 Cyc. 301; People v. McCue, 74 N.Y. Supp. 151; State v. District Court, 38 Nev. 323-326; Low v. Crown Point Mining Co.,12 Nev. 599; Walcott v. Thomas H. Wells, Acting Judge of District court, 21 Nev. 45; Knight v. District Court, 32 Nev. 346; Silver Peak Gold Mining Co. v. Second Judicial District Court, 33 Nev. 97; Arascada v. District Court, 44 Nev. 37; Irving National Bank v. District Court, 47 Nev. 92.
The United States Supreme Court has repeatedly refused to grant a writ of prohibition where the remedy by appeal is available, and we direct this court's attention to the case entitled Ex Parte Warmouth, 21 L. Ed. 543.
A case directly in point on the general principle that the writ of prohibition will not lie to review the jurisdiction of the trial court in issuing an injunction is the case of State ex rel. v. Jones (Wash.), 27 P. 452.
Our section 387 of the civil practice act as amended at page 113, Stats. 1913, provides that an appeal may be taken: 1. * * * 2. From an order granting or refusing a new trial, or granting or refusing to grant *Page 259 
or dissolving or refusing to dissolve an injunction, * * * within sixty (60) days after the order is made and entered in the minutes of the court.
                             OPINION
This is an original proceeding in prohibition. The affidavit states that:
On August 1, 1928, Robert F. Metcalfe commenced an action for divorce in the Second judicial district court in and for Washoe County, Nevada, against his wife, Gertrude C. Metcalfe; that thereafter the defendant in that suit made application to the court for an order allowing suit money and alimony pendente lite; that on September 18, 1928, a hearing was had on said application; that upon said hearing it was made to appear that the parties to said suit had on February 25, 1927, entered into a written agreement wherein they settled and divided their property interests and the said wife waived and relinquished any and all property rights in and to any property held by the plaintiff, and in case of the institution of a suit for a divorce waived any and all right to alimony pendente lite and suit money; that Hon. George A. Bartlett, one of the judges of said court, after full hearing denied said application for suit money and alimony.
The affidavit herein further states that after the making of said order and on October 10, 1928, Gertrude C. Metcalfe, the defendant in said divorce suit, filed an action in the Second judicial district court in and for Washoe County, Nevada, for the cancellation of said agreement upon the ground that it was induced by fraud and duress, and that on the 11th day of October, 1928, Hon. Thomas F. Moran, one of the judges of said court, issued a restraining order restraining the said Robert F. Metcalfe and his attorneys from further prosecuting said divorce suit, during the pendency of *Page 260 
said proceeding for the cancellation of said agreement, and until the further order of the court.
The affidavit further states that on the 16th of October, 1928, Robert F. Metcalfe filed in said suit last mentioned an application for an order to dissolve said restraining order, and that thereafter and on the 19th of October, 1928, after a hearing in the matter, the said Hon. Thomas F. Moran, district judge as aforesaid, denied said application; that the said Moran in so ordering acted in excess of his jurisdiction and authority; that applicant is without a plain, speedy, and adequate remedy, and hence asks the issuance of a writ of prohibition.
The respondent appeared by both demurrer and answer. From the uncontradicted answer of the respondent it appears that when the question of the allowance of suit money and alimony was passed upon in the divorce suit by Judge Bartlett he stated that, until the agreement of Mrs. Metcalfe, waiving suit money and alimony, had been annulled by some court of competent jurisdiction, he would have to give it full force and effect, and that such agreement was not before him for adjudication.
1. In support of the application, the well-established general rule that when one state court of competent jurisdiction assumes jurisdiction of a subject matter no other court of the same state will interfere, is invoked.
To maintain the contention, reliance is had upon the text stated in section 105, R.C.L. at p. 1067, reading as follows:
"It is a familiar principle that when a court of competent jurisdiction acquires jurisdiction of the subject matter of a case its authority continues subject only to the appellate authority until the matter is finally and completely disposed of; and no court of coordinate authority is at liberty to interfere with its action."
With this general rule there can be no complaint. It is essential to the avoidance of confusion and chaos *Page 261 
in litigation, but the section from which petitioner quotes to sustain his position contains a qualification which he does not quote, and which is very material in this connection. It reads:
"* * * An essential condition of the application of the rule as to priority of jurisdiction is that the first suit shall afford the plaintiff in the second an adequate and complete opportunity for the adjudication of his rights, for the rule that the court first acquiring jurisdiction retains it to the end must yield to the higher principle which accords to every citizen the right to have a hearing before a court of competent authority. * * *"
This qualification to the rule relied upon by the petitioner, taken from the very section of the work upon which he relies, in our opinion compels a decision in favor of the respondent.
2. Judge Bartlett took the position that the agreement between the parties was binding upon him until abrogated by a court of competent jurisdiction. By his very ruling he recognized that a suit to abrogate the agreement would be proper. We take it that petitioner concedes the correctness of Judge Bartlett's position, but contends that the proper procedure, indeed the only procedure available to him is in the divorce action, wherein it is claimed she can by cross-complaint obtain all of the relief she can possibly obtain in the suit she instituted to have the agreement settling property rights and waiving alimony and suit money canceled.
If the respondent herein has a plain, speedy, and adequate remedy in the divorce suit, she should be compelled to adjudicate all questions therein. Let us see if she has.
It is provided by statute (Rev. Laws, sec. 5843) that in any suit for divorce the court may, in its discretion, upon application, at any time after the filing of the complaint, require the husband to pay such sums as may be necessary to enable the wife to carry on or defend such suit and for her and the children's support during the pendency of such suit. *Page 262 
In view of the statute and the interest which the public has in divorce proceedings and the support and maintenance of a wife and children, it is very questionable if a wife can contract away such right in such a manner as to enable the husband to escape the obligation of paying suit money in a divorce suit, but since we are not called upon to decide that question we will proceed at once to a consideration of the one before us. The question, then, is, Has the respondent an adequate and complete remedy in the divorce suit?
Under the statutes such as the one above referred to whereby the court is authorized to make an allowance to the wife to enable her to "carry on or defend such suit," it is generally held that such allowance can only be made as to the future and not as to expenses already incurred. Loveren v. Loveren, 100 Cal. 493,35 P. 87.
Whatever else may be said, it is certainly the spirit of the law to afford an impecunious wife the funds wherewith to carry on her defense and not to leave her in a position which might result in great injustice being done her, as would often be the case if the policy of the law were to make an allowance only after the trial and determination of a divorce suit. Such is the rule in Nevada, for, as said in Lake v. Lake, 16 Nev. 363: "The object of the law is to afford a wife without means the funds necessary to prosecute or defend suits of this nature. * * * She is entitled to proper allowance so long as the cause is pending and until it is finally determined."
The respondent herein appeared in the divorce action and made a showing to the effect that she was without funds necessary to enable her to carry on and defend her suit. By her application she brought herself squarely within the terms of the statute and the law as enunciated by this court. If the contention of the petitioner that the respondent can only ask for the nullification of the agreement mentioned in the divorce suit, then the policy of the law is set at naught, and though it is doubtful if this can be done even by an agreement between the parties, yet if it can be done, and the *Page 263 
respondent herein, in seeking to have it abrogated, must proceed by way of cross-complaint, rather than by an independent action, the petitioner is given every advantage, and the policy of the law is, in effect, nullified. It is clear that if the position of the petitioner is sound, the merits of the divorce suit will be tried before a court order can be made in the case, and after the trial is completed there will be no defense or suit to "carry on," hence there could be no allowance of attorneys' fees to the respondent. A mere statement of the situation shows how illogical, unjust, and unwise it would be to sustain this application.
3. The writ of prohibition issues only in the exercise of the sound judicial discretion of the court and for the furtherance of justice. Hatch v. District Court, 50 Nev. 282,257 P. 831. In the circumstances of the case we think the justice is with the respondent, hence the writ should be denied.
4. Furthermore, the writ sought only arrests proceedings in excess of the jurisdiction of the tribunal pretending to exercise it. Clearly the district court has jurisdiction in the matter complained of.
These proceedings should be dismissed at cost of petitioner.
It is so ordered. *Page 264 